            Case 1:17-cr-10277-MLW Document 82 Filed 08/14/18 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )   No. 17-CR-10277 MLW (JGD)
                                                       )
ADRIAN CARLOS MALDONADO,                               )
                                                       )
                  Defendant.                           )

                      NOTICE PURSUANT TO PROCEDURAL ORDER

       The United States and Defendant Adrian Carlos Maldonado, by and through their

respective counsel, hereby provide the following notice pursuant to section 10 of the Court’s

Procedural Order filed on June 4, 2018 (ECF Dkt. 74):

       1.       Defendant is facing a mandatory minimum sentence of 120 months. His advisory

guideline sentencing range (“GSR”) is 120-135 months. Neither party will move for a departure

or variance from the applicable guideline range or for a non-guideline sentence. Both the

government and Defendant anticipate asking for a sentence of 120 months in prison.

       2.       The parties are in agreement that the PSR improperly counts the criminal sentence

at paragraph 43 in the calculation defendant’s criminal history calculation. The criminal sentence

is time-barred pursuant to USSG § 4A1.2(e)(2) as it was imposed on January 24, 2004, and the

government has no evidence indicating that the defendant joined the conspiracy within ten (10)

years of that date. See, e.g., United States v. Davis, 312 Fed. Appx. 909, available on Westlaw,

2009 WL 430440 (9th Cir. 2009) (plain error for the district court to include prior convictions

imposed more than ten years before the defendant joined the conspiracy); accord United States v.

Cuello-Frias, 712 Fed. App’x. 900, 901–02 (11th Cir. 2017) (determination of ten-year window is

based upon defendant’s relevant conduct, but does not include conduct of other members of the
            Case 1:17-cr-10277-MLW Document 82 Filed 08/14/18 Page 2 of 3




conspiracy before defendant joined the conspiracy); United States v. Harris, 534 Fed. Appx. 906,

908 (11th Cir. 2013) (“for the [prior] sentence to fall within the ten-year window, [the defendant]

must have commenced participation in the instant conspiracy” within ten years of the date of

imposition of the prior sentence); United States v. Wallace, 32 F.3d 1171, 1174 (7th Cir. 1994)

(plain error under U.S.S.G. § 4A1.2(e)(2) to consider prior sentences dating back more than ten

years from when defendant joined the conspiracy). The parties agree that resolution of this legal

issue will have no impact on the calculation of Defendant’s criminal history category (“CHC”) or

his advisory GSR.

       3.       Neither party is seeking an evidentiary hearing.

DATED: August 13, 2018.                              Respectfully submitted,

                                                     For the United States

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                              By:      /s/ James E. Arnold
                                                     JAMES E. ARNOLD, DCBN 426040
                                                     Assistant U.S. Attorney
                                                     United States Courthouse
                                                     1 Courthouse Way, Suite 9200
                                                     Boston, MA 02210
                                                     Tel: (617) 748-3603
                                                     Email: james.arnold@usdoj.gov

                                                     For the Defendant

                                                       /s/ W. Jamiel Allen, Esq.
                                                     W. JAMIEL ALLEN, Esq.
                                                     Federal Defender Office
                                                     51 Sleeper Street, 5th Floor
                                                     Boston, MA 02210
                                                     Tel: (617) 223-8061
                                                     Email: Jamiel_Allen@fd.org
                                                 2
         Case 1:17-cr-10277-MLW Document 82 Filed 08/14/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).


DATED: August 13, 2018                                 /s/ James E. Arnold
                                                     JAMES E. ARNOLD
                                                     Assistant U.S. Attorney




                                                3
